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 SULLIVAN HILL REZ & ENGEL, A Professional Law Corporation
 James P. Hill, SBN 90478
 Christopher V. Hawkins, SBN 222961                                                                      July 17, 2020
 600 B Street, Suite 1700, San Diego, CA 92101
 Telephone No.: (619) 233-4100 | Fax No.: (619) 231-4372
 E-Mail: hill@sullivanhill.com; hawkins@sullivanhill.com
 Attorneys for Vestavia Hills, Ltd., Debtor
               81,7('67$7(6%$1.5837&<&2857
                         6287+(51',675,&72)&$/,)251,$
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 ,Q5H
 VESTAVIA HILLS, LTD., dba Mount Royal Towers                                         %$1.5837&<12 20-00018-LA11

                                                                                      'DWHRI+HDULQJ None required
                                                                                      7LPHRI+HDULQJ None required
                                                                                      1DPHRI-XGJH Hon. Louise DeCarl Adler
                                                                           'HEWRU



                                                                      25'(521
                        STIPULATION RE: ALLOWANCE OF CLAIM 9-1 OF GORDON FOOD SERVICE, INC.


           7KHFRXUWRUGHUVDVVHWIRUWKRQWKHFRQWLQXDWLRQSDJHVDWWDFKHGDQGQXPEHUHG                 2     WKURXJK   6 ZLWK

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  '$7('       July 17, 2020
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    25'(521STIPULATION
                          RE: ALLOWANCE OF CLAIM 9-1 OF GORDON FOOD SERVICE, INC.
    '(%725VESTAVIA
                    HILLS, LTD., dba Mount Royal Towers                &$6(1220-00018-LA11
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
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     
          The Debtor Vestavia Hills, Ltd., dba Mount Royal Towers (“Debtor”) and creditor Gordon Food Service, Inc.
    
    (“Gordon”), on the other hand (collectively referred to as “Parties”) agreed to the terms of that certain Stipulation re;
    Allowance of Claim no. 9-1 of Gordon Food Service, Inc. A true copy of the Stipulation filed July 16, 2020 is attached
    hereto as Exhibit "1." Based upon the Stipulation, and good cause appearing therefore,

          IT IS HEREBY ORDERED that the Stipulation (Exhibit "1") is hereby approved, on the following terms:

        1. Gordon's motion for allowance and payment of an administrative priority claim in this case (“Motion”) (ECF #314) is
    resolved as follows: Gordon’s proof of claim no. 9-1 in this case is allowed as filed in the amount of $36,358.07. Of this
    claim amount, Gordon is allowed an administrative expense claim of $27,408.75 pursuant to 11 U.S.C. § 503(b)(9), which
    claim will be paid at the earliest date and at the same percentage as any other allowed administrative claims of equal
    priority. The balance of Gordon’s claim shall be allowed as a general unsecured claim.

            IT IS SO ORDERED.




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                                                                                  Signed by Judge Louise DeCarl Adler July 17, 2020
                             Exhibit 1 Page 3



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    EXHIBIT 1                Exhibit 1 Page 3
           Signed by Judge Louise DeCarl Adler July 17, 2020
                                                                               Exhibit 1 Page 4



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 4   SULLIVAN HILL REZ & ENGEL                                Electronically Filed: 7/16/20
     A Professional Law Corporation
 5    James P. Hill, SBN 90478
      Donald G. Rez, SBN 82615
 6    Christopher V. Hawkins, SBN 222961
     600 B Street, Suite 1700
 7   San Diego, California 92101
     Telephone:     (619) 233-4100
 8   Fax Number: (619) 231-4372
 9   Attorneys for Debtor
     Vestavia Hills, Ltd., dba Mount Royal Towers
10
                             UNITED STATES BANKRUPTCY COURT
11
                              SOUTHERN DISTRICT OF CALIFORNIA
12
                                                     )   CASE NO. 20-00018-LA11
13   In re                                           )
                                                     )   Chapter 11
14       VESTAVIA HILLS, LTD.,                       )
         dba MOUNT ROYAL TOWERS,                     )   STIPULATION RE:
15                                                   )   ALLOWANCE OF CLAIM 9-1 OF
                             Debtor.                 )   GORDON FOOD SERVICE, INC.
16                                                   )
                                                     )   Current Hearing Date: None
17                                                   )
                                                     )   Time: None
18                                                   )   Ctrm: 2
                                                     )   Judge: Hon. Louise DeCarl Adler
19                                                   )
                                                     )
20                                                   )   United States Bankruptcy Court
                                                     )   325 West “F” Street
21                                                   )
                                                     )   San Diego, CA 92101-6991
22                                                   )
                                                     )
23

24

25               This Stipulation is entered into between Vestavia Hills, Ltd., dba Mount Royal
26   Towers (“Debtor”), on the one hand, and creditor Gordon Food Service, Inc.
27   (“Gordon”), on the other hand (collectively referred to as “Parties”), by and through
28   their respective attorneys of record, as follows:

     412287-v1                                     -1-                         Exhibit 1 Page 4
                                                             Signed by Judge Louise DeCarl Adler July 17, 2020
                                                                                Exhibit 1 Page 5



 1                                             RECITALS
 2               A.    On June 30, 2020 Gordon filed proof of claim no. 9-1 in this case,
 3   asserting a total claim of $36,358.07. Of the total claim amount, Gordon asserted that
 4   $27,408.75 was entitled to administrative priority.
 5               B.    On July 2, 2020 Gordon filed a motion for allowance and payment of an
 6   administrative priority claim in this case (“Motion”). ECF #314.
 7               C.    In its Motion, Gordon seeks an order allowing it an administrative
 8   expense claim of $27,408.75 pursuant to 11 U.S.C. § 503(b)(9), and directing that
 9   distributions on the claim be made at the earliest date and at the same percentage as
10   any other allowed administrative claims of equal priority. ECF #314.
11               D.    The Parties have met and conferred, and have reached an agreement with
12   respect to Gordon’s claim no. 9-1 and the Motion, as set forth below.
13               Based on the foregoing, the Debtor and Gordon hereby stipulate and agree to
14   the following:
15                                           STIPULATION
16               1.    The above recitals are incorporated into this Stipulation.
17               2.    Gordon’s proof of claim no. 9-1 in this case is allowed as filed in the
18   amount of $36,358.07. Of this claim amount, Gordon is allowed an administrative
19   expense claim of $27,408.75 pursuant to 11 U.S.C. § 503(b)(9), which claim will be
20   paid at the earliest date and at the same percentage as any other allowed administrative
21   claims of equal priority. The balance of Gordon’s claim shall be allowed as a general
22   unsecured claim
23         IT IS SO STIPULATED.
     Dated: July 16, 2020                       SULLIVAN HILL REZ & ENGEL
24                                              A Professional Law Corporation
25

26
                                                By:    /s/James P. Hill
27                                                     James P. Hill
                                                       Attorneys for Plaintiff Vestavia Hills, Ltd.
28                                                     dba Mount Royal Towers

     412287-v1                                        -2-                       Exhibit 1 Page 5
                                                              Signed by Judge Louise DeCarl Adler July 17, 2020
                                                                        Exhibit 1 Page 6



 1               IT IS SO STIPULATED.
 2
     Dated: July 16, 2020               ICE MILLER LLP
 3

 4

 5                                      By:    /s/ John C. Cannizzaro
                                               John C. Cannizzaro
 6                                             Attorneys for creditor
                                               Gordon Food Service, Inc.
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     412287-v1                                -3-                       Exhibit 1 Page 6
                                                      Signed by Judge Louise DeCarl Adler July 17, 2020
